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September 26, 2019

VIA EMAIL (Lehrburger_NYSDChambers@nysd.uscourts.gov)

Honorable Robert W. Lehrburger, U.S.M.J.
U.S. District Court of New York

United States Courthouse

500 Pearl Street,

New York, NY 10007

Re: Michael Dardashtian, et al. v. David Gitman, et al.
17-ev-4327

Dear Judge Lehrburger:

In accordance with Your Honor’s directive on September 20, 2019, enclosed please find
the parties’ joint proposed revised scheduling order.

ul y Submitted,
ELITI, LLP

 

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